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             EXHIBIT 55
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                 EXHIBIT 8
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November 8, 2023                                                                         Disha R. Patel


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Re: ModernaTX, Inc. et al v. Pfizer Inc. et al, Case No. 1:22-cv-11378-RGS (D. Mass.): Plaintiffs
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Pursuant to paragraph 9.2(f) of the Protective Order (Dkt. 67), please immediately destroy the
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Regards,
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